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                     1 David M. Kleiman (State Bar No. 194955)
                       Email: davidkleiman lapatents.com
                     2 21900 Burbank Blvd, hard Floor
                       Woodland Hills CA 91367
                     3 Telephone: 81 ~ 884-0949
                       Facsimile: (~818~ 332-4373
                     4
                       Counsel for
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                       AVALINX,INC.
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                     9                     UNITED STATES DISTRICT COURT
                    10                    CENTRAL DISTRICT OF CALIFORNIA
                    11                            WESTERN DIVISION
                    12 SHFL ENTERTAINMENT INC., a                Case No. 12-CV-7473 DSF(MRWx)
                       Minnesota Corporation
                    13                                           DEFENDANT AVALINX INC.'S
                                  Plaintiff,                     RULE 68 OFFER OF JUDGMENT.
                    14
                             vs.
                    15
                       AVALINX INC., an Ohio corporation,
                    16
                                   Defendant.
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DAVID M. KLEIMAN         II                                                     RULE 66 OFFER OF NDGMENT
  Attorney At Lew
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                     1        Pursuant to Federal Rule of Civil Procedure 68, Avalirix Inc.("Defendant")
                     2 shall pay to SHFL Entertainment Inc.("Plaintiff') the total sum of Sixty-Thousand
                     3 Dollars ($60,000) within fifteen (15)days of entry of this offer ofjudgment. The
                     4 payment totaling Sixty Thousand Dollars($60,000) is the total amount that Plaintiff
                     5 shall receive from Defendant in connection with the subject matter of this action,
                     6 with each party to bear its own costs and attorney fees.
                     7
                     8 The Patents-In-Suit
                     9        The U.S patents 7,387,300; 6,237,916; 6,345,823; 6,698,759; 7,628,689;
                    10 6,454,266; 5,417,430; and 5,437,462 that have been asserted by Plaintiff in this
                    11 action, as shown in E~iibits 1-8 ofthe first amended complaint, against Defendant
                    12 are hereinafter referred to as the "Patents-In-Suit".
                    13        Defendant Avalirix Inc. is enjoined from manufacturing, importing, offering
                    14 for sale, or selling in the United States the accused Avalinx app products identified
                    15 in this action as "Let' Em Ride Pro","3 Card Pro Poker", and "4 Card Pro Poker",
                    16 (hereinafter the "Accused Apps") without the consent ofthe owners)or exclusive
                    17 licensees) ofthe Patents-In-Suit until the Patents-In-Suit have expired, or had their
                    18 claims cancelled, disclaimed, or finally ruled invalid or unenforceable by a court or
                    19 tribunal of competent jurisdiction with all appeals e~chausted.
                    20
                    21 The Trademarks-In-Suit
                    22          The marks registered with the U.S. Patent &Trademark Office and that
                    23 have been asserted in this action by Plaintiff are (1)"LET IT RIDE"(Registration
                    24 Nos. 1,840,102; 2,183,895; 2,605,107; 2,178,254)(2)"LET IT RIDE BONUS"
                    25 (Registration Nos. 2,178,413)(3)"LET IT RIDE DESIGN"(Registration Nos.
                    26 2,182,290),(4)"LET IT RIDE BONUS DESIGN"(Registration Nos. 3,630,813;
                    27 2,558,783),(5)"LET IT RIDE TOURNAMENT DESIGN"(Registration No.
                    28
DAVID M. KLEIMAN                                                                         RULE 68 OFFER OF JUDGMENT
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                     •1 2,100,875),(6)"THREE CARD POKER DESIGN"(Registration Nos. 2,397,403;
                     2 2,233,569),(7)"THREE DIAMOND CARD DESIGN"(Registration Nos.
                     3 2,395,326; 2,036,848),(8)"PAIR PLUS"(Registration Nos. 4,234,994; 4,234,993);
                     4 (9)"FOUR CARD POKER DESIGN"(Registration Nos. 2,936,113; 3,837,079),
                     5 (10)"ACES UP"(Registration No. 3,372,889), and (11)"ACES UP DESIGN"
                     6 (Registration No. 3,375,940), as shown in E~iibits 9-27 ofthe first amended
                     7 complaint, are hereinafter referred to as the "Trademarks-In-Suit".
                     8        Defendant Avalinx Inc. is enjoined within the United States from using any
                     9 Trademark-In-Suit on or in connection with any Avalinx app product without the
                10 consent ofthe owners)or exclusive licensees) of the Trademark-In-Suit until the
                11 registration for the Trademark-In-Suit expires, is cancelled, or declared invalid or
                12 unenforceable by a court or tribunal of competentjurisdiction with all appeals
                13 e~iausted.
                14
                15 The Copyrighted Works In Suit
                16            The works registered with the U.S. Copyright Office that have been asserted
                17 in this action by Plaintiff are(1)Reg. No. VA1754553("LET IT RIDE Logo
                18 Artwork"); and(2)Reg. No. VA1680816("Three Card Poker"), as shown in
                19 E~ibits 28 and 29 to the first amended complaint, and are hereinafter referred to as
                20 the "Copyrighted Works In Suit".
                21            Defendant Avalirix Inc. is enjoined within the United States from
                22 reproducing, preparing derivative works based upon, distributing copies of, or
                23 publicly displaying any Copyrighted Work In Suit, without the consent of the
                24 owners)or exclusive licensees) of the Copyrighted Work In Suit, until the
                25 Copyrighted Work In Suit expires, is cancelled, or declared invalid or
                26 unenforceable by a court or tribunal of competent jurisdiction with all appeals
                27 e~austed.
                28
DAVID M. KLEIMAN                                                                        RULE 68 OFFER OF NDGMENT
   Attorney At Lew
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                     1        With respect to the Copyrighted Works In Suit, nothing herein shall be
                    2 construed as precluding Defendant Avalirix Inc. from using any idea, procedure,
                     3 process, system, method of operation, concept, principle, or discovery, regardless of
                    4 the form in which it is described, explained, illustrated, or embodied in a
                     5 Copyrighted Work In Suit, or from making a fair use of a Copyrighted Work In Suit
                    6 in accordance with 17 U.S.C. §107.
                     7
                     8        Nothing herein shall be construed as precluding Defendant's right or ability
                    9 to litigate any claim or issue in any future action involving products that are
                    10 different from the Accused Apps at issue in this action.
                    11
                    12
                    13 Date: June 20, 2013
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                    1~                                        David M. Kleiman
                                                              Counsel For Avalinx Inc.
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DAVID M. KLEIMAN                                                                         RULE 68 OFFER OF JUDGMENT
  Attorney Al Law                                                A
                                                                 Y
